Case 1:19-cr-20463-TLL-PTM ECF No. 52, PageID.180 Filed 11/06/20 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                           Case Number: 19-20463
v.
                                                           Honorable Thomas L. Ludington
JUAN HERNANDEZ, SR.,                                       Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/

     ORDER GRANTING PLAINTIFF’S MOTION TO AMEND THE PRESENTENCE
                       INVESTIGATION REPORT

       On December 17, 2019, Defendant Juan Hernandez, Sr. pled guilty to kidnapping, in

violation of 18 U.S.C. § 1201(a). ECF No. 32. Defendant is currently in custody awaiting an in-

person sentencing hearing scheduled for December 14, 2020. On August 4, 2020, Plaintiff, the

United States of America (the “Government”), moved to amend the Presentence Investigation

Report (“PSR"). ECF No. 41. According to the Government, the PSR should be amended to

eliminate a reduction in the offense level for acceptance of responsibility because Defendant, on

July 27, 2020, attempted to send a threatening email to B.P., Defendant’s victim and a witness

against him. Id. Defendant, through counsel, filed a response brief on September 30, 2020. ECF

No. 45. On October 22, 2020, the Government was ordered to supplement the record with a factual

basis for the alleged email and its authenticity. ECF No. 47. The Government did so on October

30, 2020. ECF Nos. 49, 50. For the reasons stated below, Plaintiff’s motion to amend the PSR will

be granted.
    Case 1:19-cr-20463-TLL-PTM ECF No. 52, PageID.181 Filed 11/06/20 Page 2 of 5




                                                           I.

           Defendant’s plea of guilty stems from a July 3, 2019 incident where, according to

Defendant’s Rule 11 plea agreement, Defendant assaulted B.P., his then girlfriend, grabbing her

by the throat and causing visible external injuries. ECF No. 32 at PageID.83–84. B.P. fled to

neighboring homes to seek help, but Defendant dragged her into his vehicle. Id. Defendant pled

guilty to kidnapping. Defendant’s PSR, dated February 11, 2020, includes a paragraph reflecting

a reduction in the offense level for acceptance of responsibility. See ECF No. 45 at PageID.134.

           On July 27, 2020 at 2:50 A.M., an email was sent to B.P. from Defendant’s housing unit

at the Isabella County Jail using Defendant’s credentials. ECF No. 49-3 at PageID.169. The email

reads,

           WTF

           WHOS FACSBOOK YOU LOKKING ON CANT TELL ME WHERE YOU
           SEEN IT ALWAYS HINDING SHIT DUMB ASS BITCH … ALWAYS
           GETTING MAD AT ME FOR ASKING YOU THINGS STUPID ASS DUMB
           BITCH … ALWAYS LIEING DUMB BITCH YOUNTHINK YOUR SLICK
           BITCH … FUCK YOU REMEMBER ILL BE OUT BITCH ONE DAY AND IT
           WILL BE THE END OFF YOUR BLOOD LINE … WANNA TALK TO ME
           THAT WHY WHILE MY MOMS DIEING BITCH YOU WILL GET YOURS I
           PROMISE YOU THAT DUMB ASS BI POLAR BITCH WAIT AND SEE

Id. [sic throughout]. Another email was sent from the same account to Defendant’s sister an hour

earlier entitled “INFO.” Id. at PageID.170. The body of the email contained B.P.’s address. Id.

Later that day, at 10:24 P.M., Defendant called his sister from a jail phone that was being recorded.

ECF No. 49-5 at PageID.175. He immediately asked, “Did you get the info?” ECF No. 50-1.1

Defendant’s sister responded that she did not find anything from Defendant in her inbox. Id.




1
    The Government has filed the recording of the phone call under seal.

                                                          -2-
Case 1:19-cr-20463-TLL-PTM ECF No. 52, PageID.182 Filed 11/06/20 Page 3 of 5




       Both emails were never delivered because officers at the Isabella County Jail flagged them

due to their “threatening nature.” ECF No. 49-2 at PageID.168. Defendant denies sending the email

and asserts his Fifth Amendment right to remain silent. Nonetheless, for the sake of argument, he

states that he had recently learned his mother was dying, and B.P. made “certain statements to

[him] [] that could be viewed as intended to cause [] [him] to become upset about his mother.”

ECF No. 45 at PageID.133. Defendant provides no other information regarding B.P.’s alleged

statements.

                                               II.

       The United States Sentencing Guidelines allow for an offense level reduction where “the

defendant clearly demonstrates acceptance of responsibility for his offense.” U.S.S.G. § 3E1.1(a).

“The defendant bears the burden of showing that he has accepted responsibility.” United States v.

Paulette, 457 F.3d 601, 608 (6th Cir. 2006). In determining whether a defendant qualifies, the

court may consider, among other factors, whether defendant “truthfully admitt[ed] the conduct

comprising the offense(s) of conviction” or “voluntarily terminat[ed] or withdr[ew] from criminal

conduct or associations.” U.S.S.G. § 3E1.1, comment (n.1). The Guidelines commentary further

explains,

       Entry of a plea of guilty . . . combined with truthfully admitting the conduct
       comprising the offense of conviction . . . will constitute significant evidence of
       acceptance of responsibility for the purposes of subsection (a). However, this
       evidence may be outweighed by conduct of the defendant that is inconsistent with
       such acceptance of responsibility. A defendant who enters a guilty plea is not
       entitled to an adjustment under this section as a matter of right.

Id. § 3E1.1, comment (n.3).




                                               -3-
    Case 1:19-cr-20463-TLL-PTM ECF No. 52, PageID.183 Filed 11/06/20 Page 4 of 5




                                                         III.

         Despite Defendant’s denial, there is overwhelming evidence that the email is authentic,

and that Defendant was the sender. The principal issue is whether the email justifies eliminating

the § 3E1.1 reduction reflected in the PSR.

         The Government argues that, by attempting to send the email, Defendant committed a new

crime related to the kidnapping. ECF No. 41 at PageID.120. The Government cites 18 U.S.C. §§

875, 1513 and M.C.L. 750.540e.2 See United States v. Reed, 951 F.2d 97, 100 (6th Cir. 1991)

(“[C]ontinued criminal conduct is incompatible with the idea of acceptance of responsibility.”).

Defendant denies that the email was related to the kidnapping, even if it were criminal. ECF No.

45 at PageID.136. There is no indication that Defendant has been charged with a new offense, but

assuming the email constituted witness intimidation or some other crime, it was clearly related to

the kidnapping. Indeed, Defendant alludes to the underlying offense when he reminds B.P. that he

will be “out [] one day,” and that when he is, “it will be the end [of her] blood line.” ECF No. 45

at PageID.133.

         However, neither the Guidelines nor their commentary require a finding of ongoing

criminal activity. Instead, the commentary states that, for purposes of § 3E1.1, the effect of a guilty

plea can be “outweighed by conduct of the defendant that is inconsistent with such acceptance of

responsibility.”3 U.S.S.G. § 3E1.1, comment (n.3). Here, the email plainly demonstrates that

Defendant has failed to accept responsibility for the kidnapping and, in fact, continues to threaten



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  These statutes cited criminalize threatening communications (18 U.S.C. § 875; M.C.L. § 750.540e) and witness
intimidation (18 U.S.C. § 1513).
3
  Whether the defendant has withdrawn from criminal conduct and associations is just one factor among others. For
example, United States v. Morrison, 983 F.2d 730, 734 (6th Cir. 1993), which both parties cite, was concerned with
one narrow question with respect to § 3E1.1: “[W]hether criminal activity committed after indictment/information but
before sentencing, which is wholly distinct from the crime(s) for which a defendant is being sentenced, can be properly
considered when determining whether a two-level acceptance of responsibility reduction is in order.” Morrison, 983
F.2d at 733–34.

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Case 1:19-cr-20463-TLL-PTM ECF No. 52, PageID.184 Filed 11/06/20 Page 5 of 5




and terrorize the victim. See States v. Harris, 207 F. App’x 265, 267 (4th Cir. 2006) (affirming

finding that post-plea conduct was inconsistent with acceptance of responsibility where defendant

convicted of sending threatening mail to wife “made additional threats against his wife and others

involved in his case even after he pled guilty”); United States v. Hutterer, 706 F.3d 921, 926 (8th

Cir. 2013) (“[Defendant’s] post-plea conduct, including mailing threatening letters to [a victim],

does not reflect an acceptance of responsibility.”). Defendant’s frustration with the health of his

mother cannot excuse such flagrant behavior. Accordingly, the Government’s motion will be

granted.

                                               IV.

       Accordingly, it is ORDERED that Plaintiff’s Motion to Amend the Presentence

Investigation Report, ECF No. 41, is GRANTED.

       It is further ORDERED that the United States Probation Office is DIRECTED to prepare

a revised presentence investigation report that omits the reduction in offense level for acceptance

of responsibility and submit the same to the parties on or before November 30, 2020.



       Dated: November 6, 2020                              s/Thomas L. Ludington
                                                            THOMAS L. LUDINGTON
                                                            United States District Judge




                                                -5-
